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Attomey for Defendant Timothy Glen Curry

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CHRIS PRINCIPE,
Plaintiff,

VS.

TIMOTHY GLEN CURRY A/K/A
TIMOTHY TAYSHUN,

Defendant.

 

 

 

Case No: 8:17-cv-00608

DECLARATION OF BJORN
BJERCKE IN SUPPORT OF
DEFENDANT TIMOTHY GLEN
CURRY’S OPPOSITION TO
PLAINTIFF’S MOTION FOR
PRELIlVIINARY INJUNCTION

DATE: December 1, 2017
TIME: 2:30 p.m.
CTRM: 10 A

Hon. Josephine L. Staton

1
DECLART\`\“'_]`ION OF BJORN BJERCKE IN SUPPORT OF DEFENDANT TIMOTHY GLEN CURRY’S
OPPOSITION TO PLAINITFF’S MOTION FOR PRELIMINARY INJUNCTION

 

 

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EC‘L TI OF B B

I, Bjorn Bjercke, declare:

I am a Norwegian living outside the Norwegian capital city of Oslo, and
am over the age of 18. The facts stated in this declaration are Within my personal
knowledge except those stated to be on information and belief, and, if called upon,
I could and Wonld competently testify to them.

l. My profession is Chief Technology OHicer and blockchain specialist
at HarmonyChain AS, since 2016. l have been studying blockchain and
cryptocurrency from a technical perspective 1 studied Math and Computer Science
at the University of Denver. I have consulted on bank and trading systems for
Danske Bank, BankZ, Orkla Securities, and DNB (Norwegian Bank). I aiso
worked 3.5 year for Dell Cornputer and am currently serving on the board of ISO

certification of standards for Financial Technology “FinTech” in Norway.

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DECLARATION OF BJORN BJERCKE IN SUPPORT OF DEFENDANT TIMOTHY GLEN CURRY’S
OPPOSITION TO PLAINITFF’S MOTION FOR PRELIMINARY INIUNCTION

 

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2. I Was contacted on behalf of Onecoin/ OLN in September 2016, for a
high paying C-Level position to build a Blockchain from their current SQL
database. l explained that blockchains don’t Work like that, and spent 10-15
minutes explaining the concept of Decentralization to him. A few days later
enthusiastic and pushy, he got back to me saying I was the light person for the job
and that I would get the agreed pay and many benefits like cars and
accommodations if I decide to accept lt Wasn’t until this ca11 when he reluctantly
disclosed it was for Onecoin/ OLN

3. Since February 2017 l have been working pro bono With Tim Curry
and have done Signiflcant research into the functionality of the Onecoin system.
The functionality of the Onecoin cannot be done in blockchain, but could easi1y be
done in an SQL environment During diEerent times in my computer analysis and
testing, I have even made videos proving definitively that there is no blockchain
linked to various Onecoin transactions With no decentralized blockchain Onecoin
cannot be a true “cryptocurrency,” as this would be a requirement

4. Oneeoin is a centralized system with membership tokens iike “miles

points” you can acquire for an airline, or like membership points for a chain of

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DECLARATION OF BJORN BJERCKE lN SUPPORT OF DEFENDANT TIMOTHY GLEN CURRY’S
OPPOSITION TO PLAINITFF’S MOTION FOR PRELHVIINARY INJUNCTION

 

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hotels. Also, 1 Would like to add, since Onecoin is a centralized operation, it is
essentially minting (or digitally “printing”) its own currency at a rate of
1,148,400,000 EUR per 24 hours!

5 . Onecoin “price” (which is internal only, as it cannot be exchanged
Whatsoever for any real money, Whether iiat or crypto) is said to be a calculation of
new members capital joining the network To add to that the fact that Onecoins are
not blockchain based, and therefore not even a cryptocurrency, this is the the
text-book definition of a “Ponzi Scheme,” which is that new investors money pays
out existing investors for a non-existent enterprize. -

6. In reality the business model is based on nothing more than expensive
hype and false marketing, and claiming to be the next bitcoin. It claims it can
“process more transactions than Vlsa and Mastercard combined,” calling itself “the
inture ofpayments,” and also “The Bitcoin Killer,” but with zero evidence A
scam.

7. Under oath, I have reported my findings regarding Onecoin to

Verfabrensinteglierte Finanzermittlugnen Poliizei (Gerrnan Asset Recovery

4
DECLARATlON OF BJORN BJERCKE IN SUPPORT OF DEFENDANT ',I`lMOTHY GLEN CURRY’S
OPPOSITION TO PLAINITFF’S MOT]ON FOR PREL[MINARY INJUNCTION

 

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Police), London City Police Fraud Squad, Okokrim Finansiell Etteretning
(Norwegian Economy Police), and other Authorities in Europe and Asia.

8. Chris Piincipe is a promoter of Onecoin and has been viewed on stage
at numerous Onecoin Events as evidenced on YouTube. He has also used his
magazines, Financial IT and Fin-Future as active promotional material for
recruiting people to Onecoin. One Example of this is Fin-Future Where he
plagiarized material nom leaders in the cryptocurrency industry, like the IOTA
website, and Globai FinTech lnfluencer, Chris Skinner’s blog. l reached out to two
of the IOTA guys, David and Dominic, Chris Skinner and Brett King- Their feeling
on this were mutual and disgusted by Principe’s business ethics to rip them off
(without permission).

9. Tim Curry has saved millions of potential Onecoin recruits from
investing and becoming members of the OneLife MLM “pyramid scam.” Curry
has posted reams of information online Waming people not to join, and why. He
has helped lead initiatives towards potential asset recovery for the victims’ hand,
and assists in setting up victims’ support groups Where he shares his iindings on

material that among other info, Chris Principe, is promoting

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DECLARATION OF BJORN BJERCKE [N SUPPORT OF DEFENDANT TIMOTHY GLEN CURRY’S
OPPOSITION TO PLAINITFF’S MOTION FOR PRELIlVl]NARY INJUNCTION

 

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10. Mr. Curry is considered a hero by his peers in the cryptocurrency
community and Onecoin victims alike, for his work on exposing Onecoin fraud
4 11. In my understanding the evidence Tim has against Onecoin is so large
that Onecoin/ OneLife themselves don’t dare tile a Legal Suit against Tim Curry,
7 but instead are funding Chris Principe to do so.
3 I declare under penalty of perjury under the laws of the State of California
that the foregoing is true and correct Executed in Baerum, Norway on November

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11 10, 2017

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25 DECLARA'I`ION OF BJORN BJERCKE IN SUPPORT OF DEFENDANT TIMOTHY GLEN CURRY’S
6 OPPOSl’I'ION TO PLAINITFF’S l\IOTION FOR PRELIMINARY }NJUNCTION

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